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16
                         IN THE UNITED STATES DISTRICT COURT
17
                                  FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                            No. CR-18-422-PHX-SMB
20                            Plaintiff,
                                                       UNITED STATES’ COMBINED
21             v.                                      RESPONSE TO DEFENDANT
                                                     LACEY’S MOTIONS TO SUPPRESS
22                                                   (Doc. 775 & 778) AND DEFENDANT
     Michael Lacey, et al.,                          LARKIN’S MOTION TO SUPPRESS
23                                                                (Doc. 786)
                              Defendants.
24
25          The United States respectfully submits this combined response to Defendant
26   Lacey’s Motions to Suppress (Doc. 775 & 778) and Defendant Larkin’s Motion to
27   Suppress. (Doc. 786.) Defendant Lacey filed Doc. 778 on behalf of all defendants.
28   Because Defendants’ motions are similar, the government has combined its responses into

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 1   one consolidated response for judicial economy and efficiency.           The government
 2   respectfully requests the Court deny all three Motions to Suppress (Doc. 775, 778, & 786),
 3   deny Defendants’ request for a Franks hearing, and deny Defendant’s request to reserve
 4   the ability to file substantive motions regarding the “Arizona Email Warrant.” (Doc. 778.)
 5                     MEMORANDOM OF POINTS AND AUTHORITIES
 6    I.    INTRODUCTION
 7          In 2016, a federal grand jury in Arizona began investigating the website

 8   www.backpage.com along with its owners, principals, and employees for violations of

 9   federal criminal statutes. In April 2018, a federal grand jury in Arizona returned an

10   indictment against Defendants in the instant case. During the course of the investigation,

11   the government applied for, and obtained evidence through several search and seizure

12   warrants. The warrants at issue for this consolidated response and relevant case activities

13   are as follows:

14          a. 16-305 MB – Google/Ferrer Warrant.

15          This warrant authorized the government to obtain from Google, Inc. all information

16   associated with the email address carl.ferrer@backpage.com. FBI Special Agent (SA)

17   Amy Fryberger was the affiant and the warrant was authorized by United States Magistrate

18   Judge Michelle H. Burns on July 15, 2016.

19          b. 17-275 AC – CAL DOJ Warrant.
            This was an overlay warrant to the California Attorney General’s Office (CAL DOJ)
20
     seeking information CAL DOJ obtained through its own investigation of backpage.com
21
     and its owners, principals, and employees. The warrant sought information and records
22
     related to nine email addresses in the possession of CAL DOJ, for Backpage employees
23
     and Village Voice Media owners: carl.ferrer@backpage.com; carl@backpage.com;
24
     ferrer.carl@gmail.com;           andrew@backpage.com;                joye@backpage.com;
25
     adam@backpage.com; abuse@backpage.com; jim.larkin@villagevoicemedia.com; and
26
     michael.lacey@villagevoicemedia.com. FBI SA Amy Fryberger was the affiant and the
27
28


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 1   warrant was authorized by United States Magistrate Judge Allison Claire in the Eastern
 2   District of California on April 18, 2017.
 3            c. Indictment.
 4            On March 28, 2018, an Arizona federal grand jury charged Backpage’s owners,
 5   principals, and employees with conspiracy, violations of the Travel Act, and money
 6   laundering, and included criminal forfeiture allegations. (Doc. 3.)
 7            d. Carl Ferrer and Backpage Plead Guilty to Conspiracy.
 8            On April 5, 2018, Backpage and its CEO and 100% owner, Carl Ferrer, pleaded

 9   guilty to conspiracy, admitted the great majority of Backpage’s paid ads were for

10   prostitution, and consented to shut down the Backpage website and forfeited all assets

11   traceable to or involved in the crimes. (CR18-464-PHX-SMB, Doc. 7.) Also on April 5,

12   2018, Mr. Ferrer, as the 100% owner and CEO of Backpage, pleaded guilty to a money

13   laundering conspiracy on behalf of Backpage and its corporate entities: Backpage.com

14   LLC; Website Technologies LLC; Posting Solutions LLC; Amstel River Holdings, LLC;

15   Ad Tech BV PA; and UGC Tech Group BV. (CR18-465-PHX-SMB, Doc. 8-1 through 8-

16   6.)
              e. 18-9126 MB – Residential Property Search Warrant.
17
              This warrant relates to the search and seizure of three pieces of real property (A1:
18
     Lacey’s Paradise Valley home, A2: A Sedona home associated with Lacey; A3: Larkin’s
19
     Paradise Valley home) and A4: one safe deposit box belonging to Defendant Spear.1 This
20
     warrant sought documents and records related to Lacey and Larkin’s finances, assets, and
21
     expenditures.     It also sought evidence of wealth, which included: property, currency,
22
     artwork, jewelry, and vehicles, among others, purchased with proceeds of criminal activity.
23
     FBI SA Amy Fryberger was the affiant and the warrant was authorized by United States
24
     Magistrate Judge Eileen S. Willett on April 5, 2018.
25
26
27   1
       The search of Spear’s safe deposit box is not at issue; Lacey and Larkin do not have
28   standing to challenge that portion of the warrant and Spear has not filed any motions
     regarding this search.

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 1          f. Daniel Hyer Pleads Guilty to Conspiracy.
            On August 17, 2018, Daniel Hyer, Backpage’s Sales and Marketing Director,
 2
     pleaded guilty to conspiracy and admitted that one of his primary responsibility was to
 3
     increase the number of ads posted in Backpage, a process referred to by Backpage as
 4
     “preboarding” or “aggregation,” where they would identify “escort” and “adult” ads on
 5
     other websites and invite them to post ads on Backpage’s website in hopes of securing their
 6
     future business. (Doc. 271.) Mr. Hyer admitted knowing that the majority of ads that he
 7
     and others at Backpage were creating through aggregation were actually offering illegal
 8
     prostitution services and that his efforts, along with others at Backpage, resulted in large
 9
     revenue and website traffic growth for Backpage. Id.
10
            g. 18-8365 MB – Digital Devices Warrant.
11
            This warrant authorized the searches of the electronic and digital devices seized
12
     from the searches of Lacey’s and Larkin’s homes in SW 18-9126 MB. This warrant sought
13
     correspondence involving Defendants that related to backpage.com, the sale of
14
     backpage.com, client payment information, aggregation (the Dallas Plan), moderation, The
15
     Erotic Review, and bank statements and financial records for Defendants Lacey and
16
     Larkin. IRS-CI SA Richard Robinson was the affiant and the warrant was authorized by
17
     United States Magistrate Judge John Z. Boyle on August 31, 2018.
18
            h. 18-8364 MB – Datto Warrant.
19
            This warrant authorized the search of Datto, Inc, (Datto) for the contents of 26 email
20
     accounts related to Backpage and Backpage related entities. Datto was a cloud service
21
     that provided companies with a way to backup and recover cloud service data. This warrant
22
     sought correspondence involving Defendants related to backpage.com, the sale of
23
     backpage.com, client payment information, aggregation (the Dallas Plan), moderation, The
24
     Erotic Review, and bank statements and financial records for Lacey and Larkin. IRS-CI
25
     SA Richard Robinson was the affiant and the warrant was authorized by United States
26
     Magistrate Judge John Z. Boyle on August 31, 2018.
27
28


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 1          Defendants refer to this warrant as the “Arizona Email Warrant.” (Doc. 778 at 8.)
 2   In his motion, Lacey stated neither he nor his co-defendants have been able to locate the
 3   warrant discussed in an FBI-302 (Doc. 801-1) and that the government had not yet
 4   responded to his October 11, 2019 email request for a copy or its Bates number. (Doc.
 5   801-2.) Lacey is wrong. The government responded within minutes to Lacey’s October
 6   11 request and provided defense counsel with a Bates numbered copy (DOJ-BP-
 7   0004895859) of the Datto warrant. (Oct. 11, 2019 email from R. Jones, attached as Exhibit
 8   A.) In fact, all defense counsel received a copy of the Datto warrant several weeks earlier
 9   when it was produced in Discovery Production #11. (Sept. 23, 2019 letter from R. Jones,
10   attached as Exhibit B.) Because all Defendants were in possession of the Datto warrant
11   prior to the October 18, 2019 substantive motions deadline and failed to make any
12   challenges to it, they have now waived their right to do so. (Doc. 664.)
13   II.    ARGUMENT
14           a.    The Meaning of Probable Cause.
15          A successful application and affidavit to search a person or property requires

16   probable cause. Probable cause requires only a reasonable belief that a subject has

17   committed a crime, which reflects a balance between the privacy interests of individuals

18   and the community’s need for protection from criminal activity. Maryland v. Pringle, 540

19   U.S. 366, 371 (2003). Defendants significantly overstate the level of proof required for a

20   successful application. Finely-tuned standards such as proof beyond a reasonable doubt or

21   by a preponderance of the evidence, have no place in a judge’s decision on whether there

22   is a probability of criminal activity. Illinois v. Gates, 462 U.S. 213, 235 (1983); see also

23   United States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006) (finding “Gates itself marked

24   a return to the ‘totality of the circumstances’ test and emphasized that probable cause means

25   ‘fair probability,’ not certainty or even a preponderance of the evidence”). Once a search

26   warrant is approved, a judge’s determination of probable cause is entitled to great

27   deference. Id. at 236; United States v. Reeves, 210 F.3d 1041, 1046 (9th Cir. 2000). In

28


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 1   fact, even in cases where probable cause is doubtful or marginal, preference is to be
 2   accorded to warrants. United States v. Ventresca, 380 U.S. 102, 109 (1965).
 3          The Fourth Amendment requires that no warrants shall issue, but upon probable
 4   cause, support by oath or affirmation, and particularly describing the place to be searched
 5   and the person or things to be seized. U.S. Const. amend. IV. Governing case law
 6   describes this requirement as one of “specificity” and cases have distinguished its “two
 7   aspects”: particularity and breadth. United States v. SDI Future Health Inc., 568 F.3d 684,
 8   702 (9th Cir. 2009). Particularity is the requirement that the warrant must clearly state
 9   what is sought; breadth deals with the requirement that limits the scope of the warrant to
10   the probable cause that served as the basis for the warrant. Id. Here, Defendants’ three
11   motions to suppress challenge the probable cause findings made in four separate warrant
12   applications authorized by four different federal magistrate judges. While Defendants
13   challenge the contents of the affidavits, as well as the particularity and breadth related to
14   the items seized inside of Lacey’s and Larkin’s homes, they do not challenge the fact that
15   each warrant application was properly sworn, nor do they contest that each warrant
16   described with particularity, the specific location of each place to be searched.
17           b.    Four Federal Magistrate Judges Correctly Found Probable Cause in
                   Four Separate Warrant Applications.
18
19          Defendants present four arguments as to how all four magistrate judges erred when
20   they found probable cause for the four separate warrants at issue. First, Lacey and Larkin
21   argue the judges lacked a substantial basis to find probable cause because the affidavits for
22   18-9126 MB and 18-8365 MB merely summarized and incorporated the indictment and
23   contain no facts to support the crimes committed by them. (Doc. 775 at 7; Doc. 786 at 5-
24   6.) Second, the warrants for 16-305 MB and 17-275 AC were issued before the grand jury
25   returned an indictment against Backpage and Defendants argue the warrant applications
26   lacked probable cause because the affiant summarized findings from “largely publicized”
27   prosecutions, the PSI, CAL DOJ’s undercover investigation of Backpage, and the pre-trial
28   allegations of civil litigants in cases involving Backpage. Third, Defendants argue the

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 1   warrants are without probable cause because the affidavits do not contain facts showing a
 2   heightened scienter or that Defendants knowingly or intentionally facilitated or promoted
 3   a business enterprise for prostitution.    Finally, Defendants argue the warrants lack
 4   particularity and are overbroad. Many of these claims are foreclosed by this Court’s
 5   October 24, 2019 Order denying Defendants’ Motion to Dismiss Indictment and should be
 6   similarly denied. (Doc. 793.) But should the Court revisit the issues again, each of the
 7   claims are without merit.
 8                     i. Reviewing the Indictment alongside an Affidavit in an
                          Application for a Search Warrant is Not Improper.
 9
10          Defendants’ arguments that 18-9126 MB and 18-8365 MB are deficient because the
11   warrant affidavit does not, independent of the attached indictment, establish probable cause
12   is foreclosed by United States v. Seybold, 726 F.2d 502, 504 (9th Cir. 1984). The Ninth
13   Circuit held that a judge may consider the information contained in an indictment in
14   making a probable cause determination. Id. at 504 (citing United States v. Ellsworth, 647
15   F.2d 957, 963 (9th Cir. 1981)). In Seybold, a special agent of the Drug Enforcement
16   Administration (DEA) applied to a federal magistrate judge for a warrant authorizing the
17   search of Seybold’s residence two days after a grand jury indicted Seybold for drug
18   trafficking offenses. Id. at 502. The judge authorized the application, which included a
19   seven-page affidavit and incorporated a copy of the indictment, and issued the search
20   warrant. Id. at 503. The Ninth Circuit found that a judge would understand that a grand
21   jury’s determination—the fact that there was sufficient evidence to indict an individual
22   may not necessarily mean that evidence of that person’s guilt would likely be found in his
23   residence—and determined that the judge could apply his independent judgment to
24   determine whether probable cause exists. Id. at 505.
25          The government proceeded similarly in this case. In addition to sworn affidavits, in
26   18-9126 MB and 18-8365 MB, the agent presented a copy of the indictment and the
27   superseding indictment in the application to the magistrate judge.         In addition, the
28   affidavits presented several facts that would allow the judge to determine that there was a


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 1   fair probability of finding evidence of conspiracy, money laundering, and Travel Act
 2   violations in Lacey’s and Larkin’s residences and digital devices.
 3          Specifically, in her eleven-page affidavit for 18-9126 MB, SA Fryberger describes
 4   how Lacey and Larkin committed money laundering offenses, Travel Act violations, and
 5   conspired to commit those crimes. SA Fryberger stated Lacey shocked employees at
 6   Arizona Bank & Trust when he visited their bank on November 7, 2016, informed bank
 7   employees that he had just been released from jail and sought information from the bank
 8   employees on how he could move a percentage of his assets offshore to protect them from
 9   government seizure. (Doc. 786-2 at ¶¶ IV(1)(a)(i-iii).) Additionally, SA Fryberger
10   included in the affidavit, information favorable to Lacey for the judge’s consideration, e.g.,
11   that Lacey told the bank employee that his desire to move money offshore was not to avoid
12   tax liability, that the money in his account was from a legitimate cash flow and that he was
13   living off the proceeds of the sale of Village Voice Media and Backpage. Lacey argues
14   that because the affidavit did not set forth facts demonstrating bad intent, i.e., that Lacey
15   transferred money overseas to further unlawful activity, the judge erred in finding probable
16   cause. (Doc. 775 at 9.) Lacey’s argument is without merit. Context matters. While it may
17   be perfectly legal to have international bank accounts or to possess a scale and notebooks
18   in your home, the items becomes evidence of crimes if the money, scale, or notebooks are
19   tied to or used to further drug trafficking, money laundering, or other criminal activity.
20          SA Fryberger stated that on December 29, 2016, $16.5 million was sent in five
21   separate wire transfers of $3.3 million from Lacey’s account at Arizona Bank & Trust to
22   the account of a lawyer with the law firm Becker & House, PLLC. (Doc. 786-2 at
23   ¶ IV(1)(a)(iv).) The next day, the attorney submitted a request to transfer the entire $16.5
24   million to Budapest, Hungary to be held by an entity called Primus Trust Co.
25          The affidavit also discusses how Larkin and other Backpage principals utilized
26   cryptocurrencies, such as bitcoin, to future their money laundering efforts. (Doc. 786-2 at
27   ¶ IV(1)(a)(vii)(1-12).) SA Fryberger states that certain victim ads were purchased with
28   bitcoin accounts and have been traced through foreign and domestic bank accounts before


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 1   ultimately reaching the accounts of Larkin and other Backpage principals. In January 2016,
 2   Larkin received a wire transfer of approximately $1.3 million. Between March 2016 and
 3   January 2017, Larkin spent almost $1,100,000 to maintain a property he owns in France.
 4   In sum, the affidavit contains ample facts from which the magistrate judge could conclude
 5   that under the totality of the circumstances there was a fair probability that evidence of
 6   money laundering, money laundering conspiracy, and Travel Act violations would be
 7   present in Lacey’s and Larkin’s homes.
 8         In April 2018, Magistrate Judge Eileen S. Willett authorized 18-9126 MB. Six
 9   months later, in August 2018, Magistrate Judge John Z. Boyle authorized 18-8365 MB.
10   By then, a federal grand jury had returned the superseding indictment, and two Backpage
11   principals, Carl Ferrer, Backpage’s CEO and 100% owner, and Daniel Hyer, Backpage’s
12   Sales and Marketing Director, had pleaded guilty to conspiracy. In addition to the
13   superseding indictment, SA Robinson’s application contained a 12-page affidavit in
14   support of 18-8365 MB. The affidavit included the factual basis from Ferrer’s and Hyer’s
15   guilty pleas (¶¶ (2) & (3)) where Ferrer admitted to conspiring to knowingly facilitating
16   the state-law prostitution offenses being committed by Backpage’s customers along with
17   conspiring with Lacey, Larkin, Spears, Brunst, and Hyer to engage in various money
18   laundering offenses and where Hyer admitted to growing backpage.com by developing a
19   process called “preboarding” or “aggregation” to increase the number of escort
20   (prostitution) ads being placed on the website. SA Robinson also reviewed Lacey’s and
21   Larkin’s tax returns from 2012-2016, which determined that Backpage profits distributed
22   to them, along with their salary that was funded by Backpage proceeds, made up the vast
23   majority of their incomes, and that their incomes between 2013-2015 were about six times
24   their 2012 incomes. (Doc. 786-5 at ¶¶V(1), VI(1).) Additionally, the application also
25   includes the fact that there is a deed of trust in the amount of $247,734.30 recorded in
26   Maricopa County in January 2018 where Lacey is the lender and that Larkin established
27   several trusts which received intermittent wires consisting of Backpage funds throughout
28   2016. (Doc. 786-5 at ¶¶V(6), VI(5).) Thus, the affidavit contains sufficient facts from


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 1   which the magistrate judge could conclude that under the totality of the circumstances there
 2   was a fair probability that evidence of money laundering, conspiracy, and Travel Act would
 3   be present in Lacey and Larkin’s digital devices.
 4                     ii. The Warrant Application Does Not Need to Establish a
                           Heightened Scienter or the Facilitation and Promotion of a
 5
                           Business Enterprise Before a Finding of Probable Cause Can be
 6                         Found.
 7          Defendants argue the warrant applications lack probable cause because the affidavit
 8   failed to include a heightened scienter or facts showing how defendants knowingly
 9   facilitated or participated in a business enterprise involving prostitution. (Doc. 775 at 7, 9;
10   786 at 7.) Defendants have raised these arguments in other pleadings and the Court has
11   denied their motions. Specifically, this Court has found “Defendants’ arguments that the
12   First Amendment demands a scienter requirement beyond specific intent to promote
13   prostitution are unavailing.” (Doc. 793 at 23.) The law of the case doctrine generally
14   provides that when a court decides upon a rule of law, that decision should continue to
15   govern the same issue in subsequent stages of the same case. Musacchio v. United States,
16   136 S.Ct. 709, 716 (2016). The doctrine “expresses the practice of courts generally to
17   refuse to reopen what has been decided,” but it does not “limit [courts’] power.” Id.
18   Moreover, the heightened standard and additional facts the defendants argue are required
19   before a probable cause can be found run contrary to Gates where probable cause was
20   emphasized as meaning “fair probability,” without any consideration of any standard of
21   proof. Gates, 462 U.S. at 235.
22                    iii. The Warrants Detailed the Items to be Seized and the Items
23                         Seized Are Evidence of the Crimes.

24          Defendants argue the warrants do not clearly state what is to be searched and seized
25   and that the items seized exceeded the scope of the probable cause. (Doc. 775 at 9-11,
26   Doc. 786 at 8-9.) While a warrant must make clear to the executing officer exactly what
27   is authorized to search for and seize, the level of detail necessary in a warrant is related to
28   the particular circumstances and the nature of the evidence sought. SDI Future Health Inc.,


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 1   568 F.3d at 702; United States v. Adjani, 452 F.3d 1140, 1147 (9th Cir. 2006). The search
 2   and seizure of large quantities of material is justified if the material is within the scope of
 3   the probable cause underlying the warrant. Id. at 684, United States v. Hayes, 794 F.2d
 4   1348, 1355 (9th Cir. 1986).
 5          Here, Defendants argue the following three categories are unclear in 18-9126 MB:
 6   (1) evidence of wealth, assets, and real estate obtained from the illicit activity to include;
 7   notes, correspondence, and news articles related to prostitution, sex trafficking and/or
 8   Backpage and related entities; (2) documentation of any funds received from Backpage or
 9   other related companies and disposition of those funds; and (3) any property or proceed
10   resulting from money laundering or international money laundering scheme to include
11   computers, currencies, coins, precious metals, artwork, jewelry, home furnishings and
12   vehicles from the year of 2010 to present.
13          “Evidence of wealth, assets, and real estate” relates to property acquired or
14   purchased with the proceeds of criminal activity, namely, Backpage proceeds. The
15   documentation of any funds received from Backpage or other related companies and
16   disposition of those funds relates to laundered money passing between Backpage and the
17   Defendants or through its related entities prior to landing in Defendants’ bank accounts.
18          Defendants are charged in the Indictment, and later Superseding Indictment with a
19   money laundering conspiracy that began in 2004 and continued until April 2018.             SA
20   Fryberger stated in her affidavit that since at least 2008, Backpage proceeds was the main
21   source of income for Lacey, Larkin, and Spear. Despite that, the warrant narrows the time
22   frame of the search to January 1, 2010 to present. When circumstances are “permeated-
23   with-fraud,” where it may not be possible to provide a more particular description, the use
24   of a broader warrant can be approved. Center Art Galleries-Hawaii, Inc. v. United States,
25   875 F.2d 747, 750-751 (9th Cir. 1989), United States v. Offices Known as 50 State
26   Distributing Company, 708 F.2d 1371 (9th Cir. 1983). 50 State involved the search of a
27   business and the seizure of virtually all of its business records, books, equipment and
28   merchandise. Id. at 1372. Here, the warrants involved the search and seizure of property


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 1   owned by Lacey and Larkin who have been engaged in a money laundering conspiracy for
 2   over a decade. The length and duration of the conspiracy necessarily increases the breadth
 3   of probable cause but like in 50 State, the search team was able to approach the warrant
 4   without ambiguity, and seize assets acquired by defendants from proceeds of criminal
 5   activity.
 6          Regarding documentation of funds received from “other related companies,”
 7   Backpage was part of a network of companies once under Village Voice Media Holdings.
 8   SA Fryberger’s affidavit listed one of them—Website Technologies—as one of the “other
 9   related companies” of Backpage. However, because it does not appear from the returns
10   that agents seized any loose documentation related to any “other related companies,” this
11   issue is moot. (Doc. 775-3, 786-3.)
12          Finally, Lacey and Larkin wonder how agents would distinguish “any property or
13   proceeds resulting from money laundering or international money laundering scheme to
14   include computers, currencies, coins, precious metals, artwork, jewelry, home furnishings
15   and vehicles from the year of 2010 to present” from property acquired from legitimate
16   assets, such as the sale of Village Voice Media. First, the warrant only authorizes property
17   acquired after 2010, when Lacey’s and Larkin’s income was almost entirely based on their
18   Backpage salaries and Backpage related proceeds.2 Second, SA Fryberger’s affidavit
19   described with specificity Lacey’s and Larkin’s three residences to be searched, including
20   the fact that they were acquired after 2010. (Doc. 786-2 at 9.) For each of Lacey’s and
21   Larkin’s vehicles to be seized, SA Fryberger included the make, model, VIN and license
22   plate number. (Doc. 786-2 at 9.) Third, because agents could not know which specific
23   artwork or piece of jewelry they might find prior to agents entering the home, the intent to
24   search for, and seize, agents seized receipts as they could, to ensure the assets were
25   purchased or acquired after 2010. Under circumstances where the person or place to be
26   searched is “permeated-with-fraud” as were Lacey’s and Larkin’s properties and
27
28
     2
       The government has returned jewelry and electronic devices bellowing to Lacey’s wife,
     Jill Anderson, that were seized during the execution of 18-9126 MB.

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 1   possessions, a broader scope warrant is permissible and has been upheld by the Ninth
 2   Circuit. See Center Art Galleries-Hawaii, Inc. v. United States, 875 F.2d 747, 750-751
 3   (9th Cir. 1989); United States v. Offices Known as 50 State Distributing Company, 708
 4   F.2d 1371 (9th Cir. 1983).
 5                    iv. The two email related warrants, 16-305 MB and 17-275 AC
                          Similarly Detail the Items to be Seized and the Items to be Seized
 6
                          Are Evidence of Crimes.
 7          Defendants’ arguments that 16-305 MB and 17-275 MB are deficient because the
 8   warrant affidavit summarized “largely publicized” prosecutions, including the PSI, CAL
 9   DOJ’s undercover investigation of Backpage, and the pre-trial allegations of civil litigants
10   in cases involving Backpages, are utterly without merit. The affiants for both warrants, SA
11   Fryberger, relied on facts learned throughout the scope of the investigation, including other
12   law enforcement investigations related to Backpage, the PSI and civil cases where
13   Backpage was a litigant. (Doc. 778-2 at 3.) Defendants fail to cite to any case law stating
14   how this is impermissible.
15           c.    Defendants Have Failed to Make the Substantial Preliminary Showing
16                 Necessary to Obtain a Franks Hearing.

17          To challenge the validity of a warrant affidavit, a defendant must make a substantial
18   preliminary showing that (1) the affiant officer intentionally or recklessly made false or
19   misleading statements or omissions in support of the warrant, and (2) the false or
20   misleading statements or omissions were material, i.e., necessary to finding probable cause.
21   United States v. Norris, --F.3d--, 2019WL5688802 (9th Cir. November 4, 2019), (citing
22   United States v. Perkins, 850 F.3d 1109, 1116 (9th Cir. 2017)). If a defendant satisfies
23   both prongs, he or she is entitled to an evidentiary hearing. Franks, 438 U.S. at 172. But
24   to mandate an evidentiary hearing, the challenger’s attack [on the affidavit] must be more
25   than conclusory and must be supported by more than a mere desire to cross-examine. Id.
26   at 171. On the other hand, a defendant’s substantial preliminary showing of recklessness
27   or deliberate falsity is of no consequence and requires no hearing “when material that is
28   the subject of the alleged falsity or reckless disregard is set to one side [and] there remains


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 1   sufficient content in the warrant affidavit to support a finding of probable cause.” Id.
 2   Additionally, evidence obtained from a warrant should not be suppressed so long as the
 3   officer was objectively reasonable and acted with good-faith reliance on the judge’s finding
 4   of probable cause. United States v. Leon, 468 U.S. 897, 899 (1984).
 5          Here, Lacey and Larkin complain the affidavits in 16-305 MB, 17-275 AC, 18-9126
 6   MB and 18-8365 MB contain misleading statements or omissions because they: (1) failed
 7   to discuss cases where Backpage has defeated civil claims or successfully challenged state
 8   legislative or law enforcement actions; (2) failed to inform the magistrate judges that
 9   violations of the Travel Act require a heightened proof of scienter; and (3) referenced the
10   Indictment, which is riddled with material misstatements. (Doc. 775 at 16, Doc. 786 at
11   14.)
12          To meet Franks’ first prong, Defendants must make specific allegations of
13   deliberate falsehoods or demonstrate the affiant’s reckless disregard for the truth,
14   accompanied by an offer of proof—negligence is not enough. Franks, 438 U.S. at 171.
15   Alternatively, Defendants must show the affiant(s) deliberately or recklessly omitted
16   material information. United States v. Tham, 960 F.2d 1391, 1395 (9th Cir. 1991).
17   Defendants have failed to meet this prong.
18                          i.   No Need to Cite to Inapposite Case Law
19          Defendants argue a Franks hearing is appropriate because the government failed to
20   include in its affidavit that the First Amendment protects online classified advertising sites
21   like Backpage. (Doc. 775 at 14, 778 at 13, 786 at 12.) This is an argument that has been
22   soundly rejected by this Court. (Doc. 793 at 13.) In its Order denying Defendants’ motion
23   to dismiss, the Court held: “this case, however, does not concern civil liability, and the
24   CDA has ‘no effect’ on any other Federal criminal statute.” (Doc. 793 at 13.) Defendants’
25   motions list several cases where they were successful in civil or state court—none of these
26   involved federal criminal charges. As Defendants are well aware, Section 230 of the
27   Communication Decency Act (CDA) simply does not apply to federal criminal
28   prosecutions. 47 U.S.C. § 230(e)(1); (see also Doc. 809).


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 1                           ii.   A Franks Hearing is Not Necessary Because Heightened
                                   Scienter is Not Required
 2
            Next, Defendants again persist in their mistaken argument that facilitating crimes of
 3
     prostitution requires a heightened scienter. (Doc. 775 at 16, 786 at 14.) As this Court has
 4
     previously found “Defendants’ arguments that the First Amendment demands a scienter
 5
     requirement beyond specific intent to promote prostitution are unavailing.” (Doc. 793 at
 6
     18, 23.)
 7
                            iii.   Indictment Riddled with Material Misstatements
 8          Lastly, Defendants argue the Indictment is “riddled with material misstatements” as
 9   set forth in their concurrently filed Motion to Dismiss Indictment for Grand Jury Abuse,
10   or, in the Alternative, for Disclosure of Grand Jury Transcripts. (Doc. 775 at 16, 786 at
11   14.) The appropriate way to challenge an Indictment is through trial.
12          Defendants fail to cite any Franks violations based on (1) an affiant’s failure to
13   present a legal analysis of reported case law or (2) an affiant’s failure to discuss a particular
14   mens rea not applicable to the offense. They have failed to submit an affidavit or present
15   any offer of proof in support of their allegations. Franks, 438 U.S. at 171. But even if
16   Defendants’ positions were included or if the Indictment omitted, the challenged warrant
17   applications have affidavits containing substantial independent evidence supporting
18   probable cause. Defendants have failed to make a substantial preliminary showing that a
19   false statement knowingly and intentionally, or with reckless disregard for the truth, was
20   included in the warrant affidavit and that the allegedly false statement was necessary for a
21   finding of probable cause. Defendants’ assertions here are merely conclusory and not
22   supported by any offer of proof. This Court should deny Defendants’ request for a Franks
23   hearing.
24   III.   CONCLUSION
25          For the foregoing reasons, Defendants’ Motions to Suppress (Doc. 775, 778, and 786),
26   request for a Franks hearing, and request to file future challenges to the Datto warrant (Doc.
27   778) should be denied.
28


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 1         Respectfully submitted this 27th day of November, 2019.
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14                                             Child Exploitation and Obscenity Section

15                               CERTIFICATE OF SERVICE
16
            I hereby certify that on November 27, 2019, I electronically transmitted the attached
17
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
18
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
19
     as counsel of record.
20
21   s/ Angela Schuetta
     Angela Schuetta
22   U.S. Attorney’s Office
23
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